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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA, et al.,

                              Plaintiffs,           Case No. 1:20-cv-03010-APM

 v.                                                 HON. AMIT P. MEHTA
 GOOGLE LLC,

                              Defendant.


 STATE OF COLORADO, et al.,

                              Plaintiffs,           Case No. 1:20-cv-03715-APM

 v.                                                 HON. AMIT P. MEHTA
 GOOGLE LLC,

                              Defendant.



        JOINT PROPOSED ORDER ON POSTING OF HEARING MATERIALS

       Having considered the positions of the parties and Intervenor The New York Times

Company, ECF No. 1192, the Court hereby orders:

       I.     The limitations and procedures set forth in ECF Nos. 725, 750, and the October

              18, 2023 Minute Order regarding the procedure for proposed closed-session

              testimony remain in effect during the Evidentiary Hearing scheduled for April 21,

              2025 through May 9, 2025.

       II.    Transcripts of Closed Sessions.

              A.     In the event of any courtroom closure, the parties (and where relevant,

                     third parties), within 72 hours of receiving the sealed transcript of the
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                   closed session from the court reporter, shall review the transcript of the

                   closed session and propose redactions to the Court, and the Court shall

                   then independently review the proposed redactions and determine whether

                   they comport with the Hubbard factors, ordering the release of any

                   portions that do not.


SO ORDERED.



Dated: ________, 2025                             ________________________________
                                                             Amit P. Mehta
                                                    Unites States District Court Judge




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